JS: wy, 11/04)

pie

CIVIL COV

the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

The JS 44 civil cover sheet and the information contained herein neither replace nor woh ene of pleadings or Fs ui law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States mbe 4, @eequired for the the purpose of initiating

 

I. (a) PLAINTIFFS
Anand Dasrath

(b) County of Residence of First Listed Plaintiff Queens
(EXCEPT IN U.S. PLAINTIFF CASES}

DEFENDANTS
Ross University School of Medicine

County of Residence of First Listed Defendant  Edison/Dade
(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

 

 

 

 

      
  
    

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

LAND INVOLVED.
(c) Attorney's (Ficm Name, Address, and Telephone Number) A M “Jy” (If Known)
Gildin, Zelentiz & Shapiro, P.C. yw
138-44 Queens Blvd.
I]. BASIS OF JURISDICTION | (Place an “X” m One Box Only) Ul. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O1 US. Government 13 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Bi 1 Incorporated or Principal Place oa 4
of Business In This State
G2 US. Government @4 Diversity Citizen of Another State O2 © 2 Incorporated and Principal Place os Bs
Defendant (Indicate Citizenship of Parties in Item IH) of Business In Another State
Citizen or Subject of a O3 OF 3. Foreign Nation o6« O86
Foreign Country
IV. NATURE ORS) _ __
| - FORFEITURE/PENALTY ‘BANKRUPTCY, | OTHER STATUTES |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture C1 422 Appeal 28 USC 158 01 400 State Reapportionment
01 120 Marine 410 Airplane 362 Personal Injury- 10) 620 Other Food & Drug ‘| 423 Withdrawal CV 410 Antitrust
CJ 130 Miller Act Ol 315 Airplane Product Med. Malpractice C1 625 Drug Related Seizure 28 USC 157 © #430 Banks and Banking
OF 140 Negotiable Instrument Liability C1 365 Personal Injury - of Property 21 USC 881 1 450 Commerce
C1 150 Recovery of Overpayment |) 320 Assault, Libel & Product Liability OC 630 Liquor Laws PROPERTY RIGHTS _|O 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal |O 640R.R. & Truck 0 820 Copyrights O} 470 Racketeer Influenced and
07 151 Medicare Act C1 330 Federal Employers’ Injury Product (4 650 Airline Regs. O 830 Patent Corrupt Organizations
1 152 Recovery of Defaulted Liability Liability 1 660 Occupational 0) 840 Trademark 1) 480 Consumer Credit
Student Loans 1} 340 Marine PERSONAL PROPERTY Safety/Health : 01 490 Cable/Sat TV
(Excl. Veterans) (J 345 Marine Product OG 370 Other Fraud 11 690 Other _ O 810 Selective Service
(I £53 Recovery of Overpayment Liability OG 371 Truth in Lending Ro TAL RITY | 850 Securities/Commodities/
of Veteran’s Benefits (1 350 Motor Vehicle (J 380 Other Personal 1 710 Fair Labor Standar 01 861 HIA (1395ff) Exchange
C7 160 Stockholders’ Suits (355 Motor Vehicle Property Damage Act C7 862 Black Lung (923) 1 875 Customer Challenge
0 £90 Other Contract Product Liability 1 385 Property Damage (1 720 Labor/Memt. Relations }O 863 DIWC/DIWW (405(g)) 12 USC 3410
(C1 195 Contract Product Liability {0 360 Other Personal Product Liability O) 730 Labor/MgmtReporting | (1 864 SSID Title XVI ( 890 Other Statutory Actions
0 196 Franchise Injury & Disclosure Act C1 865 RSI (405 OC 891 Agricultural Acts
{ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |) 740 Railway Labor Act _ FEDERAL TAX SUITS C1 892 Economic Stabilization Act
(1 210 Land Condemnation O 441 Voting CO) $10 Motionsto Vacate [C1 790 Other Labor Litigation |) 870 Taxes (U.S. Plaintiff 1 893 Environmental Matters
C1 220 Foreclosure O 442 Employment Sentence C1) 791 Empl. Ret. Inc. or Defendant) (C] 894 Energy Allocation Act
(1 230 Rent Lease & Ejectment |} 443 Housing/ Habeas Corpus: Security Act 01 871 IRS—Third Party (1 895 Freedom of Information
C1 240 Torts to Land Accommodations 0 530 General 26 USC 7609 Act
C1 245 Tort Product Liability OO 444 Welfare OC) 535 Death Penalty } 90Appeal of Fee Determination
D 290 All Other Real Property (1 445 Amer. w/Disabilities - {1 540 Mandamus & Other Under Equal Access
Employment (J 550 Civil Rights to Justice
CO #446 Amer. w/Disabilities - [2 555 Prison Condition CO 950 Constitutionality of
Other State Statutes
440 Other Civil Rights
¥. ORIGIN {Place an “X” in One Box Only) Appeal to District
gII , o2 3 4a,. C] 5 Transferred from 7] ¢ oo, C7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened {specify) Litigation Judgment

 

Vi. CAUSE OF ACTION

hts weve Gil iyi viys which you are filing (Do not cite jurisdictional statutes unless diversity ):

 

 

Brief description of cause: ca .
Age Discrimination ,Breach of Contract and Fraud

 

Vil. REQUESTED IN

CI CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Oves (ONo
VIII. RELATED CASE(S) a
IF ANY (See instructions): TUDGE DOCKET NUMBER
DATE SIGN RE OF ATTORNEY OF
06/15/2007 } J aN
FOR OFFICE USE ONLY “ _-
RECEIPT # AMOUNT APPLYING IFP C”,.., COB A MAG. JUDGE PER.

od 33

 
~~,
ARBITRATION CERTIFICATION

I, Bradley M. Zelenitz , counsel for Plaintiff, Anand Dasrath do hereby

certify pursuant to the Local Arbitration Rule 83.10 that to the best of my knowledge and belief the damages
recoverable in the above captioned civil action exceed the sum of $150,000 exclusive of interest and costs.

¥ Relief other than monetary damages is sought.

 

 

 

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

 

Please refer to NY-E Division of Business Rule 50.1(d)(2)

1.) Is the civil action being filed in the Eastern District of New York removed from a New York State court located
in Nassau or Suffolk County: No

2.) If you answered “no” above:

a.) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau
or Suffolk County? No

b.} Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the
Eastern District? No

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than
one) reside in Nassau or Suffolk County, or, in an interpleader action, does the claimant (or a majority of the

claimants, if there is more than one) reside in Nassau or Suffolk County? No

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts}.

 

I am currently admitted in the Eastern District of New York and currently a member in good standing of the
bar of this court.

Yes ¥ No

Are you currently the subject of any disciplinary action(s) in this or any other state or federal court?

Yes (If yes, please explain} No vf

 

 

Piease provide your E-MAIL Address and bar code below. Your bar code consists of the initials of your first and last
name and the last four digits of your social security number or any other four digit number registered by the attorney
with the Clerk of Court.

(This information must be provided pursuant to local rule 11.1(b) of the civil rules).

ATTORNEY BAR CODE: BZ 1 04

E-MAIL Address: bzelenitz@gzslaw.com

1 consent to the use of electronic filing procedures adopted by the Court in Administrative Order No. 97-12, “In re
Electronic Filing Procedures(EFP)”, and consent to the electronteSépvice of all papers.

Signature:

 

 
